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7
8                              UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
10                                     SAN DIEGO DIVISION
11
12   RUSSELL STEPHEN,                               Case No. 3:24-cv-00546-H-BLM
13                       Plaintiff,                 JOINT MOTION TO CONTINUE
                                                    MOTION HEARINGS AND SET A
14            v.                                    BRIEFING SCHEDULE ON MOTION
                                                    TO DISMISS
15   NUTRA HOLDINGS, INC., et al.,                  (CivLR 7.2)
16                       Defendants.               Assigned to: Hon. Marilyn L. Huff
17
18            Pursuant to CivLR 7.2, Plaintiff Russell Stephen (“Plaintiff”) and Defendant
19   Amazon.com, Inc. (“Amazon”)1 respectfully submit this joint motion to continue the
20   hearing dates on Amazon’s Motion to Transfer Venue and Motion to Dismiss and set
21   an amended schedule for the completion of briefing on Amazon’s Motion to Dismiss.
22   In support, the Parties reference the following facts:
23            WHEREAS, on March 21, 2024, Amazon removed this action from the
24   Superior Court for the State of California, County of San Diego to the United States
25   District Court for the Southern District of California (Dkt. No. 1);
26            WHEREAS, on April 26, 2024, Amazon filed a Motion to Transfer Venue
27   (Dkt. No. 14), with a hearing date of June 28, 2024, and a Motion to Dismiss
28   1
         Plaintiff’s First Amended Complaint improperly names Amazon.com, Inc. as “Amazon, Inc.”
                                                                                 JOINT MOTION TO
                                                                      CONTINUE MOTION HEARINGS
                                                                          NO. 3:24-CV-00546-H-BLM
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1    Plaintiff’s First Amended Complaint for Violations of the California Unfair
2    Competition Law (Dkt. No. 15), with a hearing date of July 5, 2024;
3             WHEREAS, on April 30, 2024, Judge Curiel issued a Minute Order of Recusal
4    and the case was reassigned to Judge Houston (Dkt. No. 16);
5             WHEREAS, on May 1, 2024, Judge Houston issued a Minute Order of Recusal
6    and the case was reassigned to this Court (Dkt. No. 17);
7             WHEREAS, on May 2, 2024, this Court issued a Minute Order rescheduling
8    the hearings on Amazon’s Motions to June 17, 2024 (Motion to Transfer) and June
9    24, 2024 (Motion to Dismiss);
10            WHEREAS, on June 3, 2024, Plaintiff filed an Opposition to Amazon’s
11   Motion to Transfer (Dkt. No. 21);
12            WHEREAS, Plaintiff’s response to Amazon’s Motion to Dismiss is due to be
13   filed on June 10, 2024, and Amazon’s reply is due on June 17, 2024;
14            WHEREAS, the Parties are engaged in settlement discussions that may result
15   in an agreed-upon resolution of this matter, such that continuing the motion hearings
16   and extending the briefing schedule on Amazon’s Motion to Dismiss will serve the
17   interests of judicial efficiency and best preserve the resources of the Parties and the
18   Court;
19            WHEREAS, no party will suffer any prejudice from the relief requested in this
20   Joint Motion;
21            NOW, THEREFORE, the above Parties move the Court to enter the
22   accompanying proposed order:
23            1.    Amending the briefing schedule on Amazon’s Motion to Dismiss as
24   follows:
25                  a.    Plaintiff’s Opposition shall be filed on or before July 29, 2024;
26                  b.    Amazon’s Reply shall be filed on or before August 12, 2024;
27            2.    Continuing the hearing on Amazon’s Motion to Transfer from June 17,
28   2024 until August 29, 2024, or as soon thereafter as the Court is available; and
                                                                            JOINT MOTION TO
                                               -2-               CONTINUE MOTION HEARINGS
                                                                     NO. 3:24-CV-00546-H-BLM
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1          3.     Continuing the hearing on Amazon’s Motion to Dismiss from June 24,
2    2024 until August 29, 2024, or as soon thereafter as the Court is available.
3
                                            K&L GATES LLP
4    Dated: June 10, 2024
5
                                            By: s/ Kevin S. Asfour
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19                                              Attorneys for Defendant
                                                Amazon.com, Inc.
20
21                                               THE WESTON FIRM
     Dated: June 10, 2024
22
23                                               By: s/Gregory S. Weston2
24                                                  Gregory S. Weston

25                                                   Attorney for Plaintiff Russell
                                                     Stephen
26
27
     2
28     E-filing counsel Kevin Asfour hereby certifies that he has obtained authorization
     to electronically sign and submit this Joint Motion from Mr. Weston.
                                                                           JOINT MOTION TO
                                             -3-                CONTINUE MOTION HEARINGS
                                                                    NO. 3:24-CV-00546-H-BLM
